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Case 2:07-md-01873-KDE-ALC Document 14140-2 Filed 05/21/10 Page 1 of 2 / of ott

AO 440 (Rev. 02/09) Summons Ina Civil Action

UNITED STATES DISTRICT COURT

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for the
Eastern District of Louisiana
Rubin Filmore )
Plaintiff )
v. ) Civil Action No. 09-6166
Crum & Forster Specialty Ins. Co., et al
)

Defendant
SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) Uniled States of America through
James Letten, U.S. Attomey for the EOLA
500 Poydras St., Suite B1210
New Orleans, LA 70130

A lawsuit has been filed against you.

Within 20 days after service of this summons on you (not counting the day you received it) —- or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Justin 1. Woods .

Gainsburgh, Benjamin, David, Meunier & Warshauer, L.L.C.
2800 Energy Centre, 1100 Poydras St.
New Orleans, LA 70163-2800

if you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

Loretta G. Whyte
Name of clerk of court

Date: __May 21 2010 ©. Uf ogi
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EEE
Civil Action No. 09-6166

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ())

This summons for (name of individual and title, if any)

was received by me on (date)

© I personally served the summons on the individual at (place)

on (date) ;or

O I left the summons at the individual’s residence or usual place of abode with (name)

, 4 person of suitable age and discretion who resides there,
on (date) , and mailed a copy to the individual’s last known address; or

3 I served the summons on (name of individual) , who is
designated by law te accept service of process on behalf of (name of organtzation)

on (date) or
© 1 retumed the summons unexecuted because 3 or
O Other (specif):
My fees are $ for travel and § for services, for a total of $ 0.00
I declare under penalty of pesjury that this information is true.
Date:
Server's signature
Printed name and title
Server's address

Additional information regarding attempted service, ete:
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Justin I. Wi
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m Complete items 1, 2, and 3, Also complete
item 4 if Restricted Delivery Is desired

m Print your name
so that we can return the card to you.

m Attach this card to the back of the mailpiece,
or on the front if space permits.

D. Is delivery address different
it YES, enter delivery address below:

1. Article Addressed to:
James Letten, US. Attorney
for the Eastern District of LA
500 Poydras Street, Suite B210
New Orleans, LA 70130

3, Service Type
CO Certified Mall CO Express Mall
CO Registered CO Return Receipt for Merchandise

(Insured Mail 0 c.0.D.
4, Restricted Delivery? (Extra Fee) *

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“9. Article N ber
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Domestic Retum Receipt 402595-02-M-1540 :

PS Form 3811, February 2004

